  Case 1:22-mc-03696-HG-PK Document 13-6 Filed 09/28/22 Page 1 of 2 PageID #: 274
                                                                  Tuesday, September 27, 2022 at 09:41:13 Central Daylight Time


Subject: RE: Rosenfeld v. AC2T - Yee Emails
Date: Thursday, August 18, 2022 at 10:57:42 AM Central Daylight Time
From: Maria H. Ruiz
To:      Alec Leslie, Cal Mayo
CC:      Yitz Kopel, David Tyler Adams, Jacob Abrams

Confirming my agreement on this timing pending further discussions between us.



Maria H. Ruiz
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From: Alec Leslie <aleslie@bursor.com>
Sent: Thursday, August 18, 2022 11:56 AM
To: Cal Mayo <cmayo@mayomalleRe.com>
Cc: Maria H. Ruiz <MRuiz@kasowitz.com>; Yitz Kopel <ykopel@bursor.com>
Subject: Rosenfeld v. AC2T - Yee Emails



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ANY LINK, ENTER A PASSWORD, OR OPEN AN
ATTACHMENT UNLESS YOU KNOW THAT THE MESSAGE
CAME FROM A SAFE EMAIL ADDRESS.

Cal,

I've spoken with Maria Ruiz (copied here), and she has agreed that you need not produce the Yee emails
idenZﬁed in PlainZﬀ's privilege log by tomorrow. We are sZll discussing the issue and will let you know as
soon as possible what the outcome is. Please conﬁrm you will hold oﬀ producing for now.




                                                                         "F"

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Sincerely,

Alec
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